Case 1:20-cv-03590-JEB Document 174-5 Filed 08/16/22 Page 1 of 3




               EXHIBIT C
Case 1:20-cv-03590-JEB Document 174-5 Filed 08/16/22 Page 2 of 3
      Case 1:20-cv-03590-JEB Document 174-5 Filed 08/16/22 Page 3 of 3




                                               APPENDIXB
                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


  FEDERAL TRADE COMMISSION,

                                  Plaintiff,

                          V,                          Civil Action No. 1 :20-cv-03590 (JEB)

  META PLATFORMS, INC.,

                                  Defendant.


            IN-HOUSE LITIGATION COUNSEL AGREEMENT CONCERNING
                              CONFIDENTIALITY

 I,   Christen Dubois      , am employed as Director and Associate General Counsel, Litigation

 by Defendant Meta Platforms, Inc.

 I hereby certify that:

      1. I have read the Protective Order entered in the above-captioned action and understand its
         terms.

      2. I agree to be bound by the terms of the Protective Order entered in the above-captioned
         action, agree that in my role as in-house litigation counsel for the above Defendant
         company I meet the requirements of paragraph D(2)(d) of this Protective Order, and
         agree to use the information provided to me only as explicitly provided in this Protective
         Order

      3. I understand that my failure to abide by the terms of the Protective Order entered in the
         above-captioned action will subject me, without limitation, to civil and criminal penalties
         for contempt of Court.

 4. I submit to the jurisdiction of the United States District Court for the District of Columbia
    solely for the purpose of enforcing the terms of the Protective Order entered in the above­
    captioned action and freely and knowingly waive any right I may otherwise have to
         ct to the jurisdiction of said Court.
/!:
                                       SIGNATURE
�
       .Jv� 2-0 i 7.JY-27-             DATE
